             Case 2:17-cv-03242-DJH Document 91 Filed 06/14/18 Page 1 of 3




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     Attorneys for Defendant
18   Experian Information Solutions, Inc.
19
                                  UNITED STATES DISTRICT COURT
20                                    DISTRICT OF ARIZONA
21

22   Kathleen Arthur,                                Case No.: CV-17-03242-PHX-DJH
                     Plaintiff,
23                                                         STIPULATION FOR DISMISSIAL
            vs.                                           WITH PREJUDICE OF EXPERIAN
24
                                                          INFORMATION SOLUTIONS, INC.
25
     Key Bank USA, N.A., et al.
26
                  Defendants.
27

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                                  STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                    -1-
              Case 2:17-cv-03242-DJH Document 91 Filed 06/14/18 Page 2 of 3




 1          Plaintiff Kathleen Arthur, by and through her counsel of record, Price Law Group APC,

 2   and Experian Information Solutions, Inc. (“Experian”), by and through its counsel of record,
 3
     Snell & Wilmer, L.L.P. and Jones Day, hereby stipulate pursuant to Federal Rule of Civil
 4
     Procedure 41(a)(1)(A)(ii), to dismiss Experian from the action with prejudice, with each party
 5

 6   bearing its own costs and attorneys’ fees.

 7

 8
     Respectfully submitted this 14th day of June 2018.
 9

10

11                                                   PRICE LAW GROUP, APC

12                                                   By: /s/David A. Chami
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16                                                   SNELL & WILMER, L.L.P.

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24                                                   Experian Information Solutions, Inc.
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                                STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                    -2-
              Case 2:17-cv-03242-DJH Document 91 Filed 06/14/18 Page 3 of 3




 1
                                       CERTIFICATE OF SERVICE
 2

 3          I hereby certify that on June 14, 2018, I electronically filed the foregoing with the Clerk
 4
     of the Court using the ECF system, which will send notice of such filing to all attorneys of
 5
     record in this matter. Since none of the attorneys of record are non-ECF participants, hard copies
 6

 7   of the foregoing have not been provided via personal delivery or by postal mail.

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 9
     /s/Elizabeth Nanez
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                                STIPULATION FOR DISMISSAL WITH PREJUDICE
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